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                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY
                                              (609) 989-0508

      CHAMBERS OF                                                        Clarkson Fisher Building and
     PETER G. SHERIDAN                                                     U.S. Courthouse
      JUDGE                                                              402 East State Street
                                                                         Trenton, NJ 08608


  TO:             Counsel of Record

  FROM:           Peter G. Sheridan, U.S    .J.

  DATE:          March 29, 2019

  RE:            In re Lipitor Antitrust Litigation, 12-23 89 (PGS) (DEA)

          The purpose of this memorandum is to notify the parties that the Court is currently

  considering whether to appoint a special discovery master in the above-captioned matters. Federal

  Rule of Civil Procedure 53 (“Rule 53”) provides that the Court may appoint a special master under

  certain conditions and to address certain issues. Rule 53 also requires the Court to “give the parties

  notice and an opportunity to be heard.” Fed. R. Civ. P. 53(b)(1).

          The Court makes the following findings:

          1.     The above referenced matters include: (1) six Direct Purchaser Class Actions (Lead
                 Civil Action No. 11-6774); (2) twenty End Payor Class Actions (Lead Civil Action
                 No. 12-2519); and (3) five Direct Purchaser Individual Actions. These actions have
                 been consolidated into Civil Action No. 12-23 89 pursuant to the Court’s August
                 10, 2012 Case Management Order #1 Consolidating and Coordinating Cases
                 entered at ECF No. 109.

          2.     The Direct Purchaser Class Actions, the End Payor Class Actions, and the
                 Individual Direct Purchaser Actions (collectively, the “Lipitor Actions”) contain
                 overlapping parties and counsel, and similar factual allegations and legal issues.

          3.     The parties have vigorously litigated and continue to litigate numerous discovery
                 issues (See, e.g., Civil Action No. 12-2389, ECF Nos. 757, 771, 775, 787, 794,
                 795, 812, 822, and 830). The Court has devoted substantial time to addressing and
                 attempting to resolve these disputes and conducting in-person conferences.

         4.      Rule 53 provides that the Court may appoint a special master to “perform duties
                 consented to by the parties,” QE “address pretrial and posttrial matters that cannot
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                 be effectively and timely addressed by an available district judge or magistrate
                 judge of the district.” Fed. R. Civ. P. 53(a)(l).

         5.      “The appointment of a special master must be limited in scope and is not justified
                 simply because of docket congestion or the complexity of factual and/or legal
                 issues. ..    Luppino v. Mercedes Benz USA, LLC, No. 2:09-cv-05582, 2013 WL
                              .“


                 5025229, at *3 (D.N.J. Sept. 11, 2013). Nevertheless, “Courts in this Circuit have
                 appointed special masters to oversee and facilitate complicated and contentious
                 discovery.” Id.

         6.      The parties’ submissions in the Lipitor Actions and the discovery schedule make it
                 clear that this matter will continue to require intensive case management involving
                 the resolution of numerous discovery and other disputes.

         7.      The required level of case management is untenable given the burdens on the
                 District of New Jersey. As all are aware, the District of New Jersey currently has
                 five judicial vacancies and will have a sixth vacancy in May 2018. The Judicial
                 Conference has indicated that in addition to the current judgeships (even if all
                 vacancies were filled) the caseload in the District of New Jersey warrants an
                 additional three new judgeships. Judicial Conference Committee on Judicial
                 Resources, Joint Statement, Appendix 1 (2009), https://www.uscourts.gov/
                 file/24332/download.

         Accordingly, it may be appropriate to appoint a special master in the Lipitor Actions

  pursuant to Rule 53. Each party must submit the following no later than April 9, 2019:

         1.      The party’s consent or opposition to the appointment of a special master.

         2.      The party’s position on the items identified in Rule 53(b)(2).

         3.      To the extent the party wishes to propose a candidate for Special Master, it is to
                 submit no fewer than three candidates.

         4.      The party’s position on any other issues the party would like the Court to consider
                 in relation to the appointment of a special master.

  Additionally, a status conference will be held on May 2, 2019, at 10:30 a.m. where the Court will

  address the appointment of a special discovery master.
